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14

15                             UNITED STATES DISTRICT COURT
16            CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
17

18    JAMIE STOFFEL,                                Case No. 5:17-cv-2168 R (KKx)
19                Plaintiff,
20
                                                    JOINT REPORT OF EARLY
                  vs.                               MEETING/RULE 26(f) REPORT
21
      KOHL’S DEPARTMENT STORES, INC.,
22    a Delaware corporation; and DOES 1            Complaint Filed: August 24, 2017
      through 10 inclusive,                         Trial Date: None Set
23

24                Defendants.

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                           JOINT REPORT OF EARLY MEETING/RULE 26(f) REPORT
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 1             Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Local Rule 26-1 of
 2    the United States District Court for the Central District of California, and the Court’s
 3    Notice to Counsel, ¶ 8, counsel for Plaintiff Jamie Stoffel (“Stoffel” or “Plaintiff”) and
 4    counsel for Defendant Kohl’s Department Stores, Inc. (“Kohl’s” or “Defendant”) held an
 5    in-person conference on November 17, 2017. Stoffel and Kohl’s respectfully submit the
 6    following Joint Report of Early Meeting.
 7    I.       STATEMENT OF THE CASE
 8             A.       Plaintiff’s Position
 9             After nearly fifteen years of service, Defendant’s terminated Plaintiff for
10    complaining about not receiving reasonable accommodations for the disability she
11    suffered at work. Plaintiff’s disability was primarily shoulder-related and had a
12    prescribed work restriction against repetitive or excessive lifting, pushing, or pulling.
13    Prior to her termination, Plaintiff’s supervisor repeatedly pressured her to perform tasks
14    that were in obvious violation of her work restrictions. Plaintiff responded to her
15    supervisor’s harassment by calling Defendant’s “integrity hotline,” and on the same day
16    Defendant addressed her hotline complaints it initiated the disciplinary performance plan
17    it ultimately claimed as the reason for her termination. Defendant also failed to provide
18    Plaintiff with the uninterrupted meal breaks she is entitled to by law.
19             B.       Defendant’s Position
20             Defendant denies Plaintiff’s allegations.            Prior to Plaintiff’s termination in
21    November 2016, Plaintiff had a history of work performance problems, including but not
22    limited to, violation of Kohl’s Attendance Policy, for which she was disciplined in
23    writing in May 2016. Plaintiff was terminated for failing to meet her job expectations.
24    Her termination paperwork identifies several examples (with dates) where such issues
25    were previously brought to her attention, but to no avail. Furthermore, Kohl’s has a
26    comprehensive accommodations process which they engaged in with Plaintiff and
27    provided her the accommodation requested, including workplace modifications and leave
28

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 1    of absence. During Plaintiff’s employment, Kohl’s also has had a policy and practice of
 2    providing meal periods.
 3

 4    II.    PRINCIPAL LEGAL ISSUES
 5           A.    Plaintiff’s Position
 6           Defendant terminated Plaintiff in retaliation for complaints Plaintiff made. Plaintiff
 7    made complaints about her doctor-ordered disability work restrictions not being provided
 8    for as well as harassment by her supervisor regarding her work restrictions. Defendant
 9    failed to accommodate Plaintiff and in response to her complaint about the ongoing
10    pressure placed on her to violate her work restriction, Defendant placed her on the
11    disciplinary performance plan it ultimately cites as a legitimate, non-discriminatory
12    reason for her termination.
13           Plaintiff was also entitled to a thirty-minute uninterrupted meal break after five
14    hours worked in a shift. Defendant’s policies and practices did not allow Plaintiff to
15    consistently take uninterrupted meal breaks after five hours worked in a shift.
16           B.    Defendant’s Position
17           Given that Plaintiff’s employment was terminated for legitimate, non-
18    discriminatory reasons, Defendant did not engage in unlawful discrimination, retaliation,
19    or wrongful termination.         Defendant has a comprehensive process for workplace
20    accommodations, which it applied to Plaintiff when she suffered a workplace injury.
21    Therefore, Defendant is not liable for failing to prevent discrimination/retaliation, failing
22    to accommodate, and/or failing to engage in the interactive process. Nor is Kohl’s liable
23    for violating meal period laws because Kohl’s has a policy and practice of providing
24    adequate meal periods, including to Plaintiff.
25

26    III.   ADDITIONAL PARTIES AND AMENDMENT OF PLEADINGS
27           Although discovery has not yet begun, the parties do not presently believe that any
28    additional parties are likely.

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 1    IV.   ANTICIPATED MOTIONS
 2          A.     Plaintiff’s Position
 3          At this time, Plaintiff does anticipate any motions but lacks information to
 4    determine additional motions that may be required prior to trial (e.g. motion in limine).
 5          B.     Defendant’s Position
 6          Defendant anticipates bringing a summary judgment/adjudication motion after
 7    discovery. At this time, Defendant lacks information to determine whether additional
 8    motions will be required.
 9

10    V.    SETTLEMENT DISCUSSIONS AND PROCEDURE
11          A.     Plaintiff’s Position
12          Plaintiff is open to resolve this dispute. Plaintiff’s counsel typically reserves such
13    discussions until after a Defendant’s person most knowledgeable is deposed.
14          B.     Defendant’s Position
15          Defendant is open to resolve this dispute and finds that a fruitful time to do so is
16    usually after the Plaintiff’s deposition and after a reasonable demand from the Plaintiff.
17

18    VI.   DISCOVERY PLAN
19          A.     Initial Disclosures
20          The parties have agreed to serve their Initial Disclosures by December 1, 2017, 14
21    days after the Early Meeting of Counsel/Rule 26(f) conference.
22          B.     Subjects and Timing of Discovery
23                 1.    Subjects of Discovery
24          The following are subjects on which the parties currently intend to conduct
25    discovery. However, the parties do not intend this to constitute the entirety of the subject
26    matters on which discovery may be taken or to limit their ability to take discovery on
27    additional subject matters, as needed.
28

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 1                       a)    Plaintiff’s Position
 2          Plaintiff intends to take discovery regarding the facts, witnesses, and documents
 3    supporting or disproving Plaintiff’s claims for discrimination, retaliation, failure to
 4    engage in the interactive process, failure to accommodate, failure to prevent
 5    discrimination and retaliation, and failure to provide adequate meal periods. This is
 6    anticipated to include the deposition of Defendant’s Person Most Knowledgeable, the
 7    depositions of Defendant’s employees, and Defendant’s written policies and practices –
 8    subject to modification once the parties engage in discovery.
 9                       b)    Defendant’s Position
10          Defendant intends to take discovery regarding the facts, witnesses, and documents
11    supporting or disproving Plaintiff’s claims for discrimination, retaliation, failure to
12    engage in the interactive process, failure to accommodate, failure to prevent
13    discrimination and retaliation, and failure to provide adequate meal periods. This would
14    include Plaintiff’s deposition, depositions of medical providers, and testimony from
15    Defendant’s employees, subject to modification once the parties engage in discovery.
16                2.     Phased Discovery
17          The parties do not believe at this time that discovery should be conducted in
18    phases.
19                3.     Timing
20          The parties will proceed with discovery as expeditiously as possible. They will
21    respond as quickly as the breadth of the discovery requests makes possible. The parties
22    will soon serve discovery requests on the topics addressed in Section VI.B.1.b.
23          C.    Experts
24                Subject to discovery, the parties anticipate using experts in this case for
25    economic and non-economic damages.
26    ///
27    ///
28    ///

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 1           D.       Electronically Stored Information
 2           The parties do not believe that it is necessary at this time to modify any of the
 3    requirements and limitations imposed by the Federal Rules of Civil Procedure, including
 4    but not limited to, Rule 34(b)(2)(E).
 5           E.       Privilege or Protection as to Trial Preparation Materials
 6           At this time, the parties are not aware of any issues about claims of privilege or of
 7    protection as to trial-preparation materials.
 8           F.       Limitations on Discovery
 9           The parties do not believe that it is necessary at this time to modify any limitations
10    imposed by the Federal Rules of Civil Procedure or the Local Rules.
11           G.       Other Orders
12           The parties join in requesting the Court’s order that any motion under Rule 56 for
13    Summary Judgment shall provide to the Responding Party three weeks for a Response
14    and two weeks for a Reply from the moving party.
15           The parties do not believe that it is necessary at this time for the Court to issue any
16    other orders under Rule 26(c) or under Rule 16(b) and (c).
17

18    VII. TRIAL ESTIMATE
19           The parties estimate that the trial in this action will last 5-7 days.
20

21    VIII. COMPLEXITY OF CASE
22           The parties agree that the Manual for Complex Litigation should not be utilized
23    in this case.
24

25    IX.    SEVERANCE OR BIFURCATION
26           The parties do not believe that severance or bifurcation is necessary.
27    ///
28    ///

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 1    X.    OTHER ISSUES AFFECTING CASE MANAGEMENT
 2          At this time, the parties are not aware of any other issues affecting case
 3    management.
 4

 5    XI.   PROPOSED PRE-TRIAL AND TRIAL DATES
 6             • Fact Discovery cutoff: August 6, 2018
 7             • Expert Disclosures: Per FRCP 26(a)(2)(D)
 8             • Rebuttal Expert Disclosures: 2 weeks after Expert Disclosures
 9             • Last Day to Hear Motions: September 17, 2018
10             • Pretrial Conference Date: October 8, 2018
11             • Trial date: November 5, 2018
12    Dated: November 29, 2017            CALL & JENSEN
13
                                          A Professional Corporation
                                          Julie R. Trotter
14                                        Shirin Forootan
15
                                          By: /s/ Shirin Forootan
16                                            Shirin Forootan
17
                                          Attorneys for Defendant Kohl's Department
18                                        Stores, Inc.
19

20
      Dated: November 29, 2017            THE MYERS LAW GROUP
                                          David P. Myers
21                                        John M. Tomberlin
22
                                          By: /s/ John Tomberlin
23                                            John Tomberlin
24
                                          Attorneys for Plaintiff Jamie Stoffel
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                         JOINT REPORT OF EARLY MEETING/RULE 26(f) REPORT
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 1                                       SIGNATURE CERTIFICATION
 2

 3             I, Shirin Forootan, hereby attest under Local Rule 5-4.3.4(a)(2)(i) that all other
 4    signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
 5    content and have authorized the filing.
 6

 7
                                                     By: /s/ Shirin Forootan
                                                         Shirin Forootan
 8
                                                     Attorneys for Defendant Kohl's Department
 9                                                   Stores, Inc.
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